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                             EXHIBIT 4
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                                             Kukreja
                                      June 01, 2023                                 1

  ·1· · · · · · · · UNITED STATES DISTRICT COURT
  · · · · · · · · · SOUTHERN DISTRICT OF FLORIDA
  ·2
  · · · · · · · ·CASE NO. 21-60125-CIV-SCOLA/GOODMAN
  ·3

  ·4

  ·5· ·JIANGMEN BENLIDA PRINTED
  · · ·CIRCUIT CO., LTD.,
  ·6
  · · · · · · · ·Plaintiff,
  ·7
  · · · · · vs.
  ·8
  · · ·CIRCUITRONIX, LLC,
  ·9
  · · · · · · · ·Defendant.
  10· ·________________________________/

  11

  12

  13
  · · · · · · · · · · TRANSCRIPT OF PROCEEDINGS
  14· · · · · · · · ·DEPOSITION OF RISHI KUKREJA

  15

  16

  17· · · · · · · · · ·Thursday, June 1, 2023
  · · · · · · ·One Southeast Third Avenue, Suite 2300
  18· · · · · · · · · · Miami, Florida· 33131
  · · · · · · · · · · · 9:22 a.m. - 7:03 p.m.
  19

  20

  21

  22· · · · · · · · Stenographically Reported By:
  · · · · · · · · · · · · ·LAUREL A. MAZUR
  23· · · · · · · · Florida Professional Reporter

  24

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  ·1· ·Kong?

  ·2· · · · A· · That is correct.

  ·3· · · · Q· · He just kept his India --

  ·4· · · · A· · Yes.

  ·5· · · · Q· · You are the overall boss of all the global

  ·6· ·operations, right?

  ·7· · · · A· · So my mother is the owner of Circuitronix

  ·8· ·Hong Kong.· Circuitronix -- and through that

  ·9· ·Circuitronix Shenzhen and Circuitronix Europe, and my

  10· ·mom and my dad were the owners of Circuitronix India.

  11· ·My dad passed away a couple of years ago, and since

  12· ·then the second owner is just for -- yeah, there is a

  13· ·second minority owner just for --

  14· · · · Q· · Who is that?

  15· · · · A· · Sounendra Mahapatra.

  16· · · · · · ·THE REPORTER:· You're going to have to spell

  17· · · · that for me.

  18· · · · · · ·THE WITNESS:· Yes.· S-O-U-M-E-N-D-R-A, last

  19· · · · name M-A-H-A-P-A-T-R-A.

  20· · · · · · ·And I am the owner of Circuitronix Hong Kong,

  21· · · · and I manage -- I am the owner of Circuitronix

  22· · · · LLC.

  23· ·BY MR. MAZZOLA:

  24· · · · Q· · But you manage Hong Kong?

  25· · · · A· · I manage Hong Kong.


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  ·1· · · · Q· · Because I hear a lot about Ms. Promila.

  ·2· · · · A· · That is my mom, yes.

  ·3· · · · Q· · Funny enough though, I have never seen an

  ·4· ·e-mail in the tens of thousands of e-mails -- we did a

  ·5· ·search -- for Promila, P-R-O-M-I-L-A.· Why is that?

  ·6· · · · A· · Same reason why you didn't see a single

  ·7· ·e-mail from Mr. Huang.

  ·8· · · · Q· · She is not on e-mails?

  ·9· · · · A· · Yes.

  10· · · · Q· · But you do do the day-to-day management of

  11· ·Circuitronix Hong Kong?

  12· · · · A· · I do the day-to-day -- so, as one would

  13· ·appreciate, we obviously rely on managers.· Akshay runs

  14· ·the day-to-day operations and he reports to me.

  15· · · · Q· · You have overall management authority?

  16· · · · A· · I have overall management authority.

  17· · · · Q· · And naturally you are authorized to sign

  18· ·documents on behalf of Circuitronix Hong Kong, right?

  19· · · · A· · I am.· But I do want to clarify in the event

  20· ·my mother says I cannot sign a document, I cannot sign

  21· ·a document.· I do have the authority, but she has the

  22· ·final authority.

  23· · · · Q· · Are there any documents in this case that

  24· ·have been signed on behalf of Circuitronix Hong Kong

  25· ·that your mother later said, hey, Rishi, you didn't


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  ·1· ·have authority to sign that?

  ·2· · · · A· · No.

  ·3· · · · Q· · So if I look at something -- let's look, for

  ·4· ·example, at this.· This was previously marked as

  ·5· ·Exhibit 40.

  ·6· · · · A· · May I have a copy?

  ·7· · · · Q· · It's in those binders.

  ·8· · · · · · ·MR. ROSENTHAL:· By the way, JC, when -- if

  ·9· · · · you are going to ask about any documents -- JC?

  10· · · · Just housekeeping.· This doesn't have numbers 1

  11· · · · through 20 in it because they were the ones you

  12· · · · marked during the depositions you took last year.

  13· · · · I have a set I think somewhere that I have to get.

  14· · · · · · ·MR. MAZZOLA:· I don't know if we will use any

  15· · · · of them.· If we do, it will be nothing of any

  16· · · · excitement.

  17· · · · · · ·MR. ROSENTHAL:· Well, if you do need one send

  18· · · · us a copy of it and we will work as we go.

  19· ·BY MR. MAZZOLA:

  20· · · · Q· · This starts off with an e-mail.· Do you see

  21· ·that?

  22· · · · A· · Yes.

  23· · · · Q· · It refers to the secondary agreement, do you

  24· ·see that?

  25· · · · A· · Yes.


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